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                                                Signed on 7/11/2024

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                                       HONORABLE BRENDA T. RHOADES,
                                       CHIEF UNITED STATES BANKRUPTCY JUDGE
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